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                               UM TED STATES DISTRICT COURT
                                        D ISTR IC T O F NEV AD A

     UNITED STATES OFAM ERICA,                      )
                                                    )
                          Plaintiff,                )
                                                    )
           v.                                       )             2:10-CR-236-GMN-(PAL)
                                                    )
11   LLOYD H.GARDLEY,                               )
                                                    )
                          Defendant.                )
13                                     O RDER OF FO RFEITURE
          On August2,2012,defendantLLOYD H.GARDLEY pled guilty to a Folzr-cokmtSecond

15 Superseding Indictm entcharging him in Cotm t0 ne w ith Conspiracy to Com m itBank Fraud, M ail
     Fraud andW ireFraud in WolationofTitle 18,United StatesCode,Sections1341,1343,1344, and
     1349;inCountTwo withBartkFraudinviolationofTitle18,United StatesCode,Section 1344)and

18 in CountsThree and Fourwith M ailFraud in violation ofTitle 18,United StatesCode,Section

     1341. Second Superseding lndictm ent,ECF N o.114.

          ThisCourtfindsthatLLOYD H.GARDLEY shallpayacriminalforfeituremoneyjudgment
21 of$6,133,850.00 in United StatesCurrency to the United StatesofAm ericapursuantto Fed,R.

22 Crim.P.32.209(1)and(2))Title18,UnitedStatesCode,Section981(a)(l)(C)andTitle28,United
23 StatesCode,Section 2461(c);and Title18,United StatesCode,Section982(a)(2)(A).
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       Case 2:10-cr-00236-GMN-PAL    Document 204      Filed 08/02/12   Page 2 of 2


                                                                                      I
 1      THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DECREED thattheUnited              I
                                                                                      I
 2 StatesrecoverfromLLOYDH.GARDLEYacriminalforfeitlzremoneyjudgmentof$6,133,850.00    i
                                                                                      1
 3 inunitedstatescurrency.                                                            I
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 4      DATED this       day of                                                       :
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                                                         ''v,
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